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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                            OCALA/TAMPA DIVISION

CHRISEANNA MITCHELL
and CHRISTINE GANT

      Plaintiff,                                CASE NO.: 5:22-cv-108-JSM-PRL

vs.

CELEBRITY’S MANAGEMENT COMPANY, LLC,
A Florida Limited Liability Company, and
FREDRICK JACOBS, individually

      Defendant.
___________________________________/


      UNOPPOSED MOTION FOR EXTENSION OF TIME TO RESPOND TO
                 PLAINTIFFS’ MOTION TO COMPEL

       Defendants, CELEBRITY’S MANAGEMENT COMPANY, LLC and

 FREDRICK JACOBS (“collectively, the “Defendants”), through the undersigned

 counsel, respectfully move for an extension of time, up to and including May 25,

 2023, to respond to Plaintiffs’ Motion to Compel. In support of this motion, the

 parties state as follows:

       1.     On April 25, 2023, Plaintiffs filed a Motion to Compel Defendants’

 Answers to their First Request for Production (Doc. 35).

       2.     On May 11, 2023, the Court entered an Order directing Defendants

 to file a response to the Motion by May 18, 2023 (Doc 36).

       3.     The parties are currently in settlement negotiations, and they believe
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 they are quite close to resolving this matter and Plaintiffs to extending the

 deadline to respond to the Motion up to and including May 25, 2023.

                              MEMORANDUM OF LAW

        The Court may grant an enlargement of time for good cause shown when

 the request is made before the original time expires. Fed. R. Civ. P. 6(b).

 Defendants’ request for an extension is made in good faith and does not

 prejudice Plaintiffs. Permitting the extension will enable the parties to work

 toward resolution of the case. For these reasons, Defendants request that the

 Court extend the deadline to respond to Plaintiffs’ Motion to Compel and the

 Court’s subsequent Order directing Defendants to file a response.

        WHEREFORE, Defendants respectfully request an extension of time, up

 to and including May 25, 2023, to respond to Plaintiffs’ Motion to Compel.

                      LOCAL RULE 3.01(g)CERTIFICATION

      Counsel for Defendants has conferred with counsel for Plaintiffs regarding

the subject matter of this motion, and Plaintiffs do not oppose the relief requested.

Dated this 18th day of May, 2023.

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                                    Respectfully submitted,
                                    SPIRE LAW, LLC
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                                    By: /s/ Jesse I. Unruh
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                                    Attorneys for Defendants | CELEBRITY’S
                                    MANAGEMENT COMPANY, LLC and
                                    FREDRICK JACOBS


                            CERTIFICATE OF SERVICE

      I hereby Certify that on this 18th day of May, 2023, the foregoing was

electronically filed through the CM/ECF system which will send a notice of

electronic filing to: Edwin A. Green III, Esq.; Blanchard, Merriam, Adel, Kirkland

& Green, P.A.; tgreen@bmaklaw.com; lcaldwell@bmaklaw.com; Post Office Box

1869 Ocala Florida 34478.

                                            /s/ Jesse I. Unruh
                                            Attorney




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